
ORDER
PER CURIAM
AND NOW, this 28th day of March, 2017, the Application for Summary Relief is DENIED.
The “Writ of Mandamus to Compel” is GRANTED. The Court of Common Pleas of Philadelphia County is DIRECTED to docket, within 15 days, the matter that had been transferred from the Commonwealth Court. See Dept. ofCorr. v. Smith, 429 MD 2013 (order dated July 29, 2014). The Court of Common Pleas of Philadelphia County is further DIRECTED to adjudicate the transferred matter within 90 days of docketing.
The Prothonotary is DIRECTED to serve this order on the President Judge of the Court of Common Pleas of Philadelphia County.
